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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

QUINCY B. JONES,                         )
                                         )
             Petitioner,                 )
                                         )
      v.                                 )      CASE NO. 2:20-CV-324-WKW
                                         )                [WO]
UNITED STATES OF                         )
AMERICA,                                 )
                                         )
             Respondent.                 )

                                     ORDER

      On May 21, 2019, the Magistrate Judge filed a Recommendation that

Petitioner Quincy B. Jones’s 28 U.S.C. § 2255 petition be denied as a second or

successive petition. (Doc. # 6.) Petitioner has timely objected. (Doc. # 7.) The

objections are due to be overruled, and the Recommendation is due to be adopted.

      Petitioner originally filed this action as a 28 U.S.C. § 2254 petition seeking

removal of allegedly erroneous information in his presentence report that pushed

him into in a higher criminal history category and, consequently, lengthened his

sentence. Petitioner filed objections belatedly arguing that he has a cause of action

under Sellers v. Bureau of Prisons, 959 F.2d 307 (D.C. Cir. 1992). However, the

Magistrate Judge properly construed his petition as a § 2255 motion because

Petitioner is attempting to correct a sentence imposed in federal court. Compare 28
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U.S.C. § 2254 (applying to “person[s] in custody pursuant to the judgment of a State

court only” raising claims that they are “in custody in violation of the Constitution

or laws or treaties of the United States”), with 28 U.S.C. § 2255 (applying to

“prisoner[s] in custody under sentence of a court established by Act of Congress

claiming the right to be released upon the ground that the sentence was imposed in

violation of the Constitution or laws of the United States, or that the court was

without jurisdiction to impose such sentence, or that the sentence was in excess of

the maximum authorized by law, or is otherwise subject to collateral attack, may

move the court which imposed the sentence to vacate, set aside or correct the

sentence”).

      Petitioner does not object to any of the Recommendation’s findings regarding

the court’s jurisdiction to hear his successive § 2255 petition (Doc. # 7), and for the

reasons stated in the Recommendation, this court lacks jurisdiction to pass judgment

on the merits of the petition. Based upon an independent and de novo review of the

Recommendation, see 28 U.S.C. § 636(b), the court finds that the Recommendation

is due to be adopted and Petitioner’s objections are due to be overruled.

      Accordingly, it is ORDERED as follows:

      (1)     Petitioner’s Objections (Doc. # 7) are OVERRULED;

      (2)     The Recommendation (Doc. # 6) is ADOPTED;

      (3)     Petitioner’s 28 U.S.C. § 2255 motion is DENIED as a second or

              successive petition; and
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      (4)    This case is DISMISSED without prejudice.

      Final judgment will be entered separately.

      A certificate of appealability will not be issued. For a petitioner to obtain a

certificate of appealability, he must make “a substantial showing of the denial of a

constitutional right.”   28 U.S.C. § 2253(c)(2).        This showing requires that

“reasonable jurists could debate whether (or, for that matter, agree that) the petition

should have been resolved in a different manner or that the issues presented were

adequate to deserve encouragement to proceed further.” Slack v. McDaniel, 529

U.S. 473, 484 (2000) (citation and internal quotation marks omitted). And, where a

petition is denied on procedural grounds, he “must show not only that one or more

of the claims he has raised presents a substantial constitutional issue, but also that

there is a substantial issue about the correctness of the procedural ground on which

the petition was denied.” Gordon v. Sec’y, Dep’t of Corrs., 479 F.3d 1299, 1300

(11th Cir. 2007) (citations omitted). “A ‘substantial question’ about the procedural

ruling means that the correctness of it under the law as it now stands is debatable

among jurists of reason.” Id.

      Because reasonable jurists would not find the denial of Petitioner’s § 2255

motion debatable, a certificate of appealability is DENIED.

      DONE this 28th day of September, 2020.

                                             /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE

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